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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE


In re:                             :            Chapter 11
                                   :
CENTER CITY HEALTHCARE, LLC d/b/a :
HAHNEMANN UNIVERSITY HOSPITAL, :                Bankruptcy Case No. 19-11466 (KG)
et al.,                            :
                                   :            Jointly Administered
                      Debtors.     :
__________________________________ :
CENTER CITY HEALTHCARE, LLC d/b/a :
HAHNEMANN UNIVERSITY HOSPITAL, :
et al.,                            :
                                   :
                      Appellants,  :
                                   :
        v.                         :            C. A. No. 19-1858-RGA
                                   :            BAP No. 19-54
TENET BUSINESS SERVICES            :
CORPORATION and CONIFER            :
REVENUE CYCLE SOLUTIONS, LLC,      :
                                   :
                      Appellees.   :


                                 RECOMMENDATION


             At Wilmington this 22nd day of October, 2019.

             WHEREAS, pursuant to paragraph 2(a) of the Procedures to Govern

Mediation of Appeals from the United States Bankruptcy Court for this District dated

September 11, 2012, the court conducted an initial review, which included information

from counsel, to determine the appropriateness of mediation in this matter;

             The portion of the Order by the Bankruptcy Court of September 19, 2019

on appeal is that part which lifts the automatic stay following October 18, 2019 (the

Outside Date) . Consistent with the September 2019 Order, the parties, that is Debtors,
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Tenet Parties and the Committee selected the Honorable Judith K. Fitzgerald to

mediate various disputes between the Debtors and Tenet parties, including whether the

Tenet Parties will continue to provide certain services beyond the above noted Outside

Date. This mediation is ongoing and if successful, will likely resolve this Appeal.

       On October 2, 2019, Debtors filed with the Bankruptcy Court a motion for Stay

pending Appeal of the September 19, 2019 Order. This motion is presently before the

Bankruptcy Court. Tenet Parties plan to oppose this recent motion. This motion is

scheduled for a hearing before the Bankruptcy Court on November 4, 2019. Although

the parties are hopeful of resolving their disputes through mediation, they request that a

briefing schedule be set following the motion hearing before the Bankruptcy Court as

noted above. Their joint proposed briefing schedule in this Court for the appeal is as

follows:

       Appellants’ Opening Brief                        November 11, 2019

       Appellees’ Answering Brief                       November 25, 2019

       Appellants’ Reply Brief                          December 3, 2019

              THEREFORE, IT IS RECOMMENDED that, pursuant to paragraph 2(a)

Procedures to Govern Mediation of Appeals from the United States Bankruptcy Court

for this District and 28 U.S.C. § 636(b), this matter be withdrawn from the mandatory

referral for mediation and proceed through the appellate process of this Court. Since

this Recommendation is consistent with the request of the parties, no objection to this

Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B), F ED. R. CIV. P. 72(a) and

D. DEL. LR 72.1 is anticipated.

              Local counsel are obligated to inform out-of-state counsel of this Order.

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                                  /s/ Mary Pat Thynge
                                  Chief U.S. Magistrate Judge




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